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Fill in this information to identify the case

Debtor 1 Curtis Wade Mettler

Debtor 2 Julie Ann Mettler AKA Julie Ann Neff
(Spouse, if filing)

United States Bankruptcy Court for the: SOUTHERN District of OHIO
                                                                            (State)
Case number 17-53583


Official Form 410S1
Notice of Mortgage Payment Change                                                                                               12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a
supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                               MTGLQ Investors, LP, by and through its
                               mortgage servicing agent Rushmore Loan
Name of creditor               Management Services, LLC,                              Court claim no. (if known)            4
                                                                                      Date of payment change
Last four digits of any number                                                        Must be at least 21 days after date of        9/4/2018
you use to identify the debtor's                                                      this notice
account:                                0370
                                                                                      New total payment:
                                                                                      Principal, interest, and escrow, if any       $1,882.03
Part 1:           Escrow Account Payment Adjustment
  1.   Will there be a change in the debtor's escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
           Describe the basis for the change. If a statement is not attached, explain why:


           Current escrow payment:         $211.76     New escrow payment:        $240.43

Part 2:           Mortgage Payment Adjustment
  2.   Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-rate
       note?
           No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is
           not attached, explain why:


           Current interest rate:                             %           New interest rate:                                    %

           Current principal and interest payment: $                      New principal and interest payment: $

Part 3:           Other Payment Change




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 3.   Will there be a change in the debtor's mortgage payment for a reason not listed above?
         No
         Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
         agreement. (Court approval may be required before the payment change can take effect)

         Reason for change:

         Current mortgage payment: $                                   New mortgage payment: $




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Debtor 1          Curtis Wade Mettler                                       Case number (if known) 17-53583
            First Name                      Middle Name        Last Name



Part 4:              Sign Here
  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
  number.
  Check the appropriate box.
           I am the creditor.
           I am the creditor's authorized agent.

  I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
  knowledge, information, and reasonable belief.

  X               /s/ Adam B. Hall                                               Date
                                                                                             06/29/2018
      Signature

  Print:                        Adam B. Hall                                     Title    Attorneys for Creditor

  Company                 Manley Deas Kochalski LLC

  Address                 P.O. Box 165028
                         Number             Street

                          Columbus, OH 43216-5028
                         City                        State       ZIP Code

  Contact phone            614-220-5611                                          Email     amps@manleydeas.com




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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Notice of Payment Change was served

electronically through the court's ECF System at the email address registered with the court:

   Office of U.S. Trustee, Southern District of Ohio, Party of Interest, 170 North High Street,
   #200, Columbus, OH 43215

   Frank M. Pees, 130 East Wilson Bridge Road, Suite 200, Worthington, OH 43085,
   trustee@ch13.org

   Crystal I. Zellar, Attorney for Curtis Wade Mettler and Julie Ann Mettler AKA Julie Ann
   Neff, 720 Market St, Zanesville, OH 43701, mail@zellarlaw.com

                                  29 2018 addressed to:
and by ordinary U.S. mail on June ___,

   Curtis Wade Mettler and Julie Ann Mettler AKA Julie Ann Neff, 46286 Noble Ridge Rd,
   Caldwell, OH 43724


                                                        /s/ Adam B. Hall
                                                     Adam B. Hall




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                                                                                       ANTICIPATED      12:55:53
                                                                                                   ESCROW           Desc Main
                                                                                                          ACCOUNT DISBURSEMENTS
                          Rushmore Loan Management Services          Document     Page 5 of 9
                          P.O. Box 55004
                          Irvine, CA 92619
                                                                                                    HAZARD INS                                        $798.00
                                                                                                    COUNTY TAX                                      $2,087.20

____       ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT
           AND CHANGE OF PAYMENT NOTICE PREPARED FOR:

____

               Loan Number:  Redacted
                                                                                                    NEW MONTHLY PAYMENT IS AS FOLLOWS:
               Analysis Date: 06/13/2018
                                                                                                    Principal and Interest                          $1,641.60
____
                                                                                                    Required Escrow Payment                           $240.43
                      CURTIS W METTLER
                      JULIE A METTLER                               Redacted                        Shortage/Surplus Spread
                                                                                                    Optional Program Payment
                                                                                                                                                         $.00
                                                                                                                                                         $.00
                      46286 NOBLE RIDGE               RD                                            Buydown or Assistance Payments                       $.00
                                                                                                    Other                                                $.00
                 RedactedRedacted                                                                    TOTAL MONTHLY PAYMENT
                                                                                                     NEW PAYMENT EFFECTIVE DATE:
                                                                                                                                                   $1,882.03
                                                                                                                                                  09/04/2018



           FOR BORROWERS IN BANKRUPTCY OR BORROWERS WHOSE DEBT HAS BEEN DISCHARGED IN
           BANKRUPTCY, THIS IS AN INFORMATIONAL STATEMENT AND IT IS NOT AN ATTEMPT TO COLLECT A DEBT.
           PLEASE NOTE THAT EVEN IF YOUR DEBT HAS BEEN DISCHARGED IN BANKRUPTCY AND YOU ARE NO
           LONGER PERSONALLY LIABLE ON THE DEBT, THE LENDER MAY, IN ACCORDANCE WITH APPLICABLE LAW,
           PURSUE ITS RIGHTS TO FORECLOSE ON THE PROPERTY SECURING THE DEBT.

           Rushmore Loan Management Services has completed an analysis of the escrow account. We have adjusted the mortgage payment to reflect changes
           in the real estate taxes and/or property insurance. The escrow items to be disbursed from the account are itemized above. If you have questions
           regarding this analysis, please write to our Customer Service Department at Rushmore Loan Management Services, P.O. Box 55004, Irvine, CA
           92619, or call toll-free 1-888-504-6700.
           In the event you utilize a third party to remit your payments, please inform them of the effective date of any change in your payment.

                                              ANNUAL ESCROW ACCOUNT PROJECTION FOR THE COMING YEAR
           This is an estimate of activity in the escrow account during the coming year based on payments anticipated to be made from the account.
                              PAYMENTS TO                                        PAYMENTS FROM                                         ESCROW ACCOUNT
                            ESCROW ACCOUNT                                       ESCROW ACCOUNT                                             BALANCE
Redacted                                              MIP/PMI         TAXES           FLOOD           HAZ. INS.         SPECIAL     PROJECTED     REQUIRED
Redacted
Redacted      MONTH
Redacted
Redacted      STARTING BALANCE                                                                                                        $572.13            $639.45
Redacted      SEP                   $240.43                                                                                           $812.56            $879.88
Redacted
Redacted      OCT                   $240.43                                                         $798.00                           $254.99            $322.31
              NOV                   $240.43                                                                                           $495.42            $562.74
              DEC                   $240.43                                                                                           $735.85            $803.17
              JAN                   $240.43                       $1043.60                                                             $67.32-             $0.00 *
              FEB                   $240.43                                                                                           $173.11            $240.43
              MAR                   $240.43                                                                                           $413.54            $480.86
              APR                   $240.43                                                                                           $653.97            $721.29
              MAY                   $240.43                                                                                           $894.40            $961.72
              JUN                   $240.43                       $1043.60                                                             $91.23            $158.55
              JUL                   $240.43                                                                                           $331.66            $398.98
              AUG                   $240.43                                                                                           $572.09            $639.41

            *Indicates a projected low      point of       $67.32-.    Under the mortgage contract, state or federal law, the lowest                     monthly
            balance should not exceed              $.00. The difference   between the projected   low point and the amount required                      is $1,416.93   .
            This is the surplus.




                    Please keep this statement for comparison with the actual activity in your account at the end of the next escrow accounting computation year.


           IF THIS ESCROW ANALYSIS INDICATES THAT THERE IS A SURPLUS, IT MAY NOT MEAN THAT YOU ARE
           ENTITLED TO RECEIVE A RETURN OF THAT SURPLUS. THIS ANALYSIS WAS CALCULATED BASED ON AN
           ASSUMPTION THAT THE ACCOUNT IS CURRENT ACCORDING TO THE TERMS OF THE NOTE AND
           MORTGAGE/DEED OF TRUST. IF THE ACCOUNT IS BEHIND, IN DEFAULT, OR IN BANKRUPTCY, THIS ANALYSIS
           MAY NOT REFLECT THE CURRENT STATE OF THE ACCOUNT OR THE TERMS OF A BANKRUPTCY PLAN. IF
           THERE ARE ENOUGH FUNDS IN THE ESCROW ACCOUNT AND THE SURPLUS IS $50 OR GREATER, THAT
           SURPLUS WILL BE MAILED TO YOU WITHIN 30 DAYS, PROVIDED THE ACCOUNT IS CURRENT UNDER THE
           TERMS OF THE NOTE AND MORTGAGE/DEED OF TRUST.




           LOAN NUMBER:        Redacted                                                                           SURPLUS AMOUNT:                 $1,416.93

           NAME: CURTIS W METTLER


           IF THERE ARE ENOUGH FUNDS IN THE ACCOUNT TO DISBURSE THE PROJECTED OVERAGE AND THE ACCOUNT
           IS CURRENT, THEN THE REFUND WILL BE MAILED TO YOU WITHIN 30 DAYS.
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Loan Number:    Redacted                          Document     Page 6 ofName:
                                                                         9 CURTIS W METTLER
                  ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT - ACCOUNT HISTORY
This is a statement of actual activity in the escrow account from 11/2017       through 08/2018.   Last year's projections    are
next to the actual activity. The most recent mortgage payment was $1,699.28         of which     $211.91   went to the escrow
account and the remainder of     $1,487.37      went towards the mortgage loan. An asterisk (*) indicates a difference     between
a projected   disbursement and actual activity.
            PAYMENTS TO ESCROW ACCOUNT          PAYMENTS FROM ESCROW ACCOUNT                                 ESCROW BALANCE COMPARISON
                 PROJECTED      ACTUAL               PROJECTED         ACTUAL              DESCRIPTION            PROJECTED        ACTUAL
MONTH
STARTING BAL.                                                                                                         $0.00       $1152.95-
 JAN                           $211.91*                            $1023.06*                COUNTY/PARIS              $0.00       $1964.10-
 JAN                                                                 $20.54*                COUNTY/PARIS              $0.00       $1984.64-
 FEB                           $211.91*                                                                               $0.00       $1772.73-
 JUN                          $2964.94*                            $1023.06*                COUNTY/PARIS              $0.00        $169.15
 JUN                                                                 $20.54*                COUNTY/PARIS              $0.00        $148.61
 JUL                           $211.76*                                                                               $0.00        $360.37
 AUG                           $211.76*                                                                               $0.00        $572.13

OVER THIS PERIOD, AN ADDITIONAL               $.00 WAS     DEPOSITED INTO THE ESCROW ACCOUNT FOR INTEREST ON ESCROW.

The actual lowest monthly balance was less than              $.00. The items with    an asterisk on the account   history   may
explain this, if you would like a further explanation,   please call our toll-free   number:    1-888-504-6700.
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                 P.O. Box 55004                      ANTICIPATED ESCROW ACCOUNT DISBURSEMENTS
                 Suite 100
                 Irvine, CA 92619

                 www.rushmorelm.com




 FOR BORROWERS IN BANKRUPTCY OR BORROWERS WHOSE DEBT HAS BEEN
 DISCHARGED IN BANKRUPTCY, THIS IS AN INFORMATIONAL STATEMENT AND IT IS
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 PURSUE ITS RIGHTS TO FORECLOSE ON THE PROPERTY SECURING THE DEBT.


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 THAT YOU ARE ENTITLED TO RECEIVE A RETURN OF THAT SURPLUS. THIS ANALYSIS
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 ACCORDING TO THE TERMS OF THE NOTE AND MORTGAGE/DEED OF TRUST. IF THE
 ACCOUNT IS BEHIND, IN DEFAULT, OR IN BANKRUPTCY, THIS ANALYSIS MAY NOT
 REFLECT THE CURRENT STATE OF THE ACCOUNT OR THE TERMS OF A BANKRUPTCY
 PLAN. IF THERE ARE ENOUGH FUNDS IN THE ESCROW ACCOUNT AND THE SURPLUS IS
 $50 OR GREATER, THAT SURPLUS WILL BE MAILED TO YOU WITHIN 30 DAYS, PROVIDED
 THE ACCOUNT IS CURRENT UNDER THE TERMS OF THE NOTE AND MORTGAGE/DEED OF
 TRUST.

 *If there is an amount listed in the “Actual” column under Payments To Escrow Account on
 Page 2 above, then this is the assumption that was made and indicates the amount that
 would have been paid into escrow for a contractually current loan. This number does not
 represent payments that were actually made by you. As discussed above, these escrow
 calculations are calculated based on an assumption that the account would be current
 according to the terms of the note and mortgage/deed of trust.
